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                            EXHIBIT M
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 1                        IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA
 2                              CHARLOTTESVILLE DIVISION

 3        **************************************************************
          "BABY L.", a minor, by and
 4        through her legal guardians and
          next friends, DOE 1 and DOE 2,
 5        et al.,
                                           CIVIL NO.: 3:20-CV-00009
 6                                         February 26, 2020
                    Plaintiffs,            Lynchburg, Virginia
 7                                         SEALED TRO HEARING
                                           (Conference Call)
 8             vs.

 9        DR. MARK ESPER, in his official         Before:
          capacity as Secretary for the           HONORABLE NORMAN K. MOON
10        United States Department of             UNITED STATES DISTRICT JUDGE
          Defense, et al.,                        WESTERN DISTRICT OF VIRGINIA
11

12                    Defendants.

13        **************************************************************
          APPEARANCES:
14
          For the Plaintiffs:
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24        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY; TRANSCRIPT
          PRODUCED BY COMPUTER.
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 1                     First, they should have obtained the consent of the

 2                government to the transfer of Baby L.          While

 3        plaintiffs' counsel conceded both that it was required and

 4        they sought it, it ultimately was not obtained.

 5                     Second, plaintiffs' counsel also submitted an

 6        application for a Visa for this child to enter the US, which,

 7        again, plaintiff conceded was not granted.

 8                     Plaintiffs' failure to succeed under the two avenues

 9        demonstrate there's no legal basis to bring Baby L to the

10        United States.

11                     Lastly, I cannot overlook the international

12        ramifications of the Court granting the request for temporary

13        restraining order.      The State Department has ably articulated

14        the US government's foreign policy interest and has argued

15        relations with                  are significantly implicated by

16        this case.

17                     Plaintiffs' counsel suggested that if only the State

18        Department would, quote, get out of the way, end of quote,

19        everything would proceed in an orderly fashion and

20        would respect human rights law.         But it is the role of the

21        State Department and not private litigants or the Court to

22        determine the foreign policy interest of the United States.

23                     For these reasons, I deny plaintiffs' motion for a

24        TRO.

25                     And that's the decision.      And anything else?
